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UNITED STATES DISTRICT COURT MLNS 23 fice
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION -
DAVID TOM, Case No.: .
Plaintiff,
v. 6:19-CV-1432-ORL-37DCI
CITY OF INDIAN HARBOUR BEACH,
A MUNICIPALITY WITHIN THE
STATE OF FLORIDA
AND
INDIAN HARBOUR BEACH VOLUNTEER
FIRE DEPARTMENT INC.
Defendants.

 

 

CERTIFICATE OF INTERESTED PERSONS AND
CORPORATE DISCLOSURE STATEMENT

I hereby disclose the following pursuant to this Court's Order on Interested
Persons and Corporate Disclosure:
1. The name of each person, attorney, association of persons, firm, law firm,
partnership, and corporation that has or may have an interest in a party to this action or in
the outcome of this action, including subsidiaries, conglomerates, affiliates, parent
corporations, publicly-traded companies that own 10% or more of a party's stock, and all
other identifiable legal entities related to a party:
Plaintiff

David Tom

 

 

 
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Defendant and Defendant's Counsel - City of Indian Harbour Beach
Douglas T Noah, Counsel for City of Indian Harbour Beach and the Florida League of

Cities/Florida Municipal Insurance Trust

Ronald P Greninger, Counsel for City of Indian Harbour Beach and the Florida League of
Cities/Florida Municipal Insurance Trust

Dean Ringers Morgan and Lawton P.A., Law Firm for City of Indian Harbour Beach and
The Florida League of Cities/Florida Municipal Insurance Trust

The Florida League of Cities, Inc., Administrator of the Florida Municipal Insurance
Trust

Florida Municipal Insurance Trust, Insurer to City of Indian Harbour Beach

J. Todd Scaldo, Fire Chief/Public Works Director - City of Indian Harbour Beach

Mark K. Ryan, City Manager - City of Indian Harbour Beach

Sue Frank, City Clerk - City of Indian Harbour Beach

Timothy S. Bowman, City Employee - City of Indian Harbour Beach

Matthew S. Cooch, City Employee - City of Indian Harbour Beach

David Panicola, Mayor - City of Indian Harbour Beach

Scott Nickle, Deputy Mayor - City of Indian Harbour Beach

Robert Sharek, Council Member - City of Indian Harbour Beach

Jim Nolan Sr., Council Member - City of Indian Harbour Beach

Frank Guertin, Council Member - City of Indian Harbour Beach

All taxpayers and citizens within the municipality of the City of Indian Harbour Beach

 

 
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Defendant and Defendant's Counsel - Indian Harbour Beach Volunteer Fire
Department, Inc.

Name of counsel and affiliated law firm representing Defendant IHBVFD, Inc is
unavailable at this time but would have an interest in this action.

Michael Muldoon, President IHBVFD

Timothy Bowman, Vice President IHBVFD

Tom Knowlton, Treasurer IHBVFD

Craig Finkelstein, Secretary IHBVFD

David Knowlton, Past President and Secretary IHBVFD

Zachary Anderson, Past Vice President IHBVFD

Christopher McMillen, Past Vice President IHBVFD

Todd Matarazzo, Past Secretary IHBVFD

Roman Lane, Past President IHBVFD

Marcus Abraira, Past Vice President IHBVFD

Entire Roster of IHBVFD firefighters and affiliates from 2015-2019 - Complete list is
unavailable at this time.

Miscellaneous Third Party

Backdraft Vapor, LLC

2. The name of every other entity whose publicly-traded stock, equity, or debt may
be substantially affected by the outcome of the proceedings:

None known.

 

 

 
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3. The name of every other entity which is likely to be an active participant in the
proceedings, including the debtor and members of the creditors' committee (or if no
creditors' committee the 20 largest unsecured creditors):
None known.
4. The name of each victim (individual and corporate), including every person who may
be entitled to restitution:
David Tom
5. Check one of the following:
Sa I certify that | am unaware of any actual or potential conflict of interest
involving the District Judge and Magistrate Judge assigned to this case and will
immediately notify the Court in writing upon learning of any such conflict.
“Ore

b. I certify that I am aware of a conflict or basis of recusal of the District Judge or
Magistrate Judge as follows:

None known.

CERTIFICATE OF SERVICE
I certify that on August 22™ 2019, I filed a copy of the foregoing with the Clerk
of the Court in person and an electronic copy was sent to Douglas Noah, counsel for
Defendant — CITY OF INDIAN HARBOUR BEACH.
I further certify that I mailed the foregoing document and notice of filing by first-

class mail to the following unrepresented party:

 

 
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Indian Harbour Beach Volunteer Fire Department, Inc
1116 Pinetree Dr
Indian Harbour Beach, FL 32937

Dated: August 22, 2019 Respectfully Submitted,

 
   

 

avidTom !
1058 Herne Ave
Palm Bay, FL 32907
321-725-9212

Pro Se

 

 
